        Case 2:16-bk-13575-ER Doc 181 Filed 08/14/16 Entered 08/14/16 21:39:43                                                Desc
                             Imaged Certificate of Notice Page 1 of 4
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 16-13575-TD
Liberty Asset Management Corporation                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-2                  User: ppenningt                    Page 1 of 2                          Date Rcvd: Aug 12, 2016
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 14, 2016.
db             +Liberty Asset Management Corporation,   2648 E. Workman Avenue #3001-263,
                 West Covina, CA 91791-1604

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 14, 2016                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 12, 2016 at the address(es) listed below:
              Alexandre I Cornelius    on behalf of Interested Party Lucy Gao aicornelius@costell-law.com,
               ssaad@costell-law.com;mharris@costell-law.com;jstambaugh@costell-law.com;ladelson@costell-law.com
               ;jlcostell@costell-law.com
              Alexandre I Cornelius    on behalf of Defendant Lucy Gao aicornelius@costell-law.com,
               ssaad@costell-law.com;mharris@costell-law.com;jstambaugh@costell-law.com;ladelson@costell-law.com
               ;jlcostell@costell-law.com
              Barry S Glaser    on behalf of Interested Party    Courtesy NEF bglaser@swesq.com, erhee@swesq.com
              Charles Alex Naegele    on behalf of Creditor    JD Brothers LLC alex@canlawcorp.com,
               alexnaegelelaw@gmail.com
              David A Trinh    on behalf of Defendant Sonia Chiou dtrinh@trinhlawfirm.com, kim@trinhlawfirm.com
              David B Golubchik    on behalf of Defendant    LIBERTY ASSET MANAGEMENT CORPORATION dbg@lnbyb.com,
               dbg@ecf.inforuptcy.com
              David B Golubchik    on behalf of Debtor    Liberty Asset Management Corporation dbg@lnbyb.com,
               dbg@ecf.inforuptcy.com
              David B Golubchik    on behalf of Plaintiff    LIBERTY ASSET MANAGEMENT CORPORATION dbg@lnbyb.com,
               dbg@ecf.inforuptcy.com
              David B Golubchik    on behalf of Plaintiff    Liberty Asset Management Corporation dbg@lnbyb.com,
               dbg@ecf.inforuptcy.com
              David S Henshaw    on behalf of Plaintiff    FRANK LEE, Co-Trustee of THE LEE LIVING TRUST DATED
               6/23/1987 david@henshawlaw.com, info@henshawlaw.com
              David S Henshaw    on behalf of Plaintiff    AHA 2012 LLC david@henshawlaw.com, info@henshawlaw.com
              David S Henshaw    on behalf of Plaintiff    YCJS 2012 LLC david@henshawlaw.com,
               info@henshawlaw.com
              David S Henshaw    on behalf of Plaintiff    CHRISTOPHER D. LEE david@henshawlaw.com,
               info@henshawlaw.com
              David S Henshaw    on behalf of Interested Party Frank Lee david@henshawlaw.com,
               info@henshawlaw.com
              David W. Meadows    on behalf of Interested Party    Courtesy NEF david@davidwmeadowslaw.com
              Eve H Karasik    on behalf of Plaintiff    LIBERTY ASSET MANAGEMENT CORPORATION ehk@lnbyb.com
              Eve H Karasik    on behalf of Defendant    LIBERTY ASSET MANAGEMENT CORPORATION ehk@lnbyb.com
              Eve H Karasik    on behalf of Debtor    Liberty Asset Management Corporation ehk@lnbyb.com
              Gail S Greenwood    on behalf of Plaintiff    LIBERTY ASSET MANAGEMENT CORPORATION
               ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
              Gail S Greenwood    on behalf of Creditor Committee Chair    Committee Of Unsecured Creditors
               ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
              Gail S Greenwood    on behalf of Creditor Committee    Committee Of Unsecured Creditors
               ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
              Gail S Greenwood    on behalf of Creditor Committee    Official Committee Of Unsecured Creditors
               ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
              Gail S Greenwood    on behalf of Creditor Committee    Committee of Creditors Holding Unsecured
               Claims ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
       Case 2:16-bk-13575-ER Doc 181 Filed 08/14/16 Entered 08/14/16 21:39:43                        Desc
                            Imaged Certificate of Notice Page 2 of 4


District/off: 0973-2          User: ppenningt              Page 2 of 2                  Date Rcvd: Aug 12, 2016
                              Form ID: pdf042              Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Ian Landsberg     on behalf of Interested Party    Crystal Waterfalls LLC ian@landsberg-law.com,
               casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-law.com;yesi@landsberg-law.com;ila
               ndsberg@ecf.inforuptcy.com
              James S Yan   on behalf of Creditor    PA One, LLC jsyan@msn.com
              James S Yan   on behalf of Creditor    Faith Hope International Ltd. jsyan@msn.com
              James S Yan   on behalf of Creditor    HCL 2011 LLC jsyan@msn.com
              James S Yan   on behalf of Creditor    Union Square 117 Project LLC jsyan@msn.com
              James S Yan   on behalf of Creditor    Good Special International Ltd. jsyan@msn.com
              James S Yan   on behalf of Interested Party     Courtesy NEF jsyan@msn.com
              James S Yan   on behalf of Creditor    Lee Walgreens 2013 LLC jsyan@msn.com
              James S Yan   on behalf of Creditor    Smart Gear Development Ltd. jsyan@msn.com
              Jeffrey S Kwong    on behalf of Plaintiff    LIBERTY ASSET MANAGEMENT CORPORATION jsk@lnbyb.com,
               jsk@ecf.inforuptcy.com
              Jeffrey S Kwong    on behalf of Debtor    Liberty Asset Management Corporation jsk@lnbyb.com,
               jsk@ecf.inforuptcy.com
              Jeffrey S Kwong    on behalf of Defendant    LIBERTY ASSET MANAGEMENT CORPORATION jsk@lnbyb.com,
               jsk@ecf.inforuptcy.com
              Jeffrey S Kwong    on behalf of Plaintiff    Liberty Asset Management Corporation jsk@lnbyb.com,
               jsk@ecf.inforuptcy.com
              Jeffrey S Kwong    on behalf of Plaintiff    10TH STREET SANTA MONICA PROJECT, LLC jsk@lnbyb.com,
               jsk@ecf.inforuptcy.com
              Jeremy V Richards    on behalf of Creditor Committee    Committee of Creditors Holding Unsecured
               Claims jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
              Jeremy V Richards    on behalf of Creditor Committee Chair    Committee Of Unsecured Creditors
               jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
              Jeremy V Richards    on behalf of Creditor Committee    Committee Of Unsecured Creditors
               jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
              Jeremy V Richards    on behalf of Plaintiff    LIBERTY ASSET MANAGEMENT CORPORATION
               jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
              Jeremy V Richards    on behalf of Creditor Committee    Official Committee Of Unsecured Creditors
               jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
              John D Fiero    on behalf of Creditor Committee    Committee of Creditors Holding Unsecured Claims
               jfiero@pszjlaw.com, ocarpio@pszjlaw.com
              John-Patrick M Fritz    on behalf of Debtor    Liberty Asset Management Corporation jpf@lnbyb.com,
               JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Plaintiff    LIBERTY ASSET MANAGEMENT CORPORATION
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Plaintiff    Liberty Asset Management Corporation
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              John-Patrick M Fritz    on behalf of Defendant    LIBERTY ASSET MANAGEMENT CORPORATION
               jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
              Julie A Esposito    on behalf of Defendant    MAXWELL REAL ESTATE INVESTMENT LLC
               cesarjuliem@yahoo.com, sensberg@aol.com
              Julie A Esposito    on behalf of Counter-Claimant    MAXWELL REAL ESTATE INVESTMENT LLC
               cesarjuliem@yahoo.com, sensberg@aol.com
              Julie A Esposito    on behalf of Defendant    CHUNBO ZHANG a/k/a GEORGE ZHANG cesarjuliem@yahoo.com,
               sensberg@aol.com
              Julie A Esposito    on behalf of Creditor    Maxwell Real Estate Investment, LLC et al.
               cesarjuliem@yahoo.com, sensberg@aol.com
              Julie A Esposito    on behalf of Defendant    CHENHAN WU a/k/a CHENG HAN WU a/k/a HUGO WU
               cesarjuliem@yahoo.com, sensberg@aol.com
              Kyra E Andrassy    on behalf of Interested Party    Courtesy NEF kandrassy@swelawfirm.com,
               csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
              Kyra E Andrassy    on behalf of Creditor    Huesing Holdings LLC kandrassy@swelawfirm.com,
               csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
              Laura Palazzolo     on behalf of Plaintiff    ELSV, LLC laura.palazzolo@berliner.com,
               sabina.hall@berliner.com
              Laura Palazzolo     on behalf of Creditor    ELSV, LLC laura.palazzolo@berliner.com,
               sabina.hall@berliner.com
              Lei Lei Wang Ekvall    on behalf of Interested Party    Courtesy NEF lekvall@swelawfirm.com,
               csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
              Lindsey L Smith    on behalf of Plaintiff    LIBERTY ASSET MANAGEMENT CORPORATION lls@lnbyb.com,
               lls@ecf.inforuptcy.com
              Mark Romeo    on behalf of Creditor    Northern California Mortgage Fund VII, LLC romeolaw@msn.com
              Patricia H Lyon    on behalf of Creditor    Nixon Peabody LLP phlyon@frenchlyontang.com,
               mwoodward@frenchlyontang.com
              Queenie K Ng    on behalf of U.S. Trustee    United States Trustee (LA) queenie.k.ng@usdoj.gov
              Robert M Saunders    on behalf of Creditor Committee    Committee of Creditors Holding Unsecured
               Claims rsaunders@pszjlaw.com, rsaunders@pszjlaw.com
              Robert S Lawrence    on behalf of Debtor    Liberty Asset Management Corporation
               rlawrence@callahan-law.com, mwalters@callahan-law.com
              United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
              Victoria Newmark     on behalf of Creditor Committee    Committee of Creditors Holding Unsecured
               Claims vnewmark@pszjlaw.com
                                                                                               TOTAL: 65
     Case 2:16-bk-13575-ER Doc 181 Filed 08/14/16 Entered 08/14/16 21:39:43                                                                Desc
                          Imaged Certificate of Notice Page 3 of 4

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
Jeremy V. Richards (CA SBN 102300)
John D. Fiero (CA SBN 136557)                                                                              FILED & ENTERED
Gail S. Greenwood (CA SBN 169939)
Victoria A. Newmark (CA SBN 183581)
PACHULSKI STANG ZIEHL & JONES LLP                                                                                  AUG 12 2016
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: 310/277-6910                                                                                      CLERK U.S. BANKRUPTCY COURT
Facsimile: 310/201-0760                                                                                      Central District of California
                                                                                                             BY penning DEPUTY CLERK
E-mail: jrichards@pszjlaw.com
         jfiero@pszjlaw.com
         ggreenwood@pszjlaw.com
         vnewmark@pszjlaw.com

     Individual appearing without attorney
                   Official Committee of Creditors Holding
     Attorney for: Unsecured Creditors
                                      UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES                                               DIVISION

In re:                                                                       CASE NO.: 16-13575-TD
LIBERTY ASSET MANAGEMENT CORPORATION,
                                                                             CHAPTER: 11


                                                                                  ORDER SETTING BAR DATE FOR FILING
                                                                                         PROOFS OF CLAIM
                                                                                     [FRBP 3003(c)(3); LBR 3003-1]

                                                                                 No hearing: LBR 9013-1(q)
                                                                                 Hearing information
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:

                                                              Debtor(s)

Based either on a filed motion to set a bar date or on this court¶s own motion, IT IS ORDERED THAT:

1.    The general bar date for creditors of the Debtor to file proofs of claim (Bar Date) is (date) October 30, 2016 ,
      with the exceptions set forth in mandatory court form F 3003-1.NOTICE.BARDATE WKH³Bar Date Notice´. With
      respect to governmental units, the person completing the notice is responsible for ensuring that it states the correct
      exception. If the stated deadline is incorrect, then the actual deadline is hereby set as the latter of (a) the incorrect
      date stated in the notice, (b) the statutory deadline (11 U.S.C. §§ 101(27) and 502(b)(9)), or (c) the general Bar Date.
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           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2015                                                          Page 1                                       F 3003-1.ORDER.BARDATE
 DOCS_SF:91594.1 52593/002
       Case 2:16-bk-13575-ER Doc 181 Filed 08/14/16 Entered 08/14/16 21:39:43                                                                Desc
                            Imaged Certificate of Notice Page 4 of 4

2.        On or before (date) August 30, 2016 , the Committee must serve written notice of the bar date, using the
          Bar Date Notice, on all creditors and the United States Trustee. On or before August 30, 2016, the Committee must
          publish the Bar Date Notice in Mandarin one time in The World Journal, as translated from the English Bar Date
          Notice, for the purpose of providing notice to unknown creditors and potential creditors of the Debtor.

3.            Other (specify):

    (a) for claims arising from the rejection of executory contracts or unexpired leases pursuant to 11 U.S.C. § 365, the last
    day to file a proof of claim will be the later of thirty (30) days after the date of entry of the order authorizing the rejection,
    or October 30, 2016;

    (b) for claims arising from the avoidance of a transfer under chapter 5 of the Bankruptcy Code, the last day to file a
    proof of claim will be the later of thirty (30) days after the entry of judgment avoiding the transfer or October 30, 2016; and

    (c) for claims of governmental units that arose before the Petition Date, the last day to file a proof of claim will also be
    October 30, 2016, which is more than 180 days after the date of the Order for Relief in this case.

                                                                             ###




                   Date: August 12, 2016




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December 2015                                                             Page 2                                       F 3003-1.ORDER.BARDATE
DOCS_SF:91594.1 52593/002
